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Attorneys for Defendant



                              UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

UNITED STATES OF AMERICA,                             Case No. 3:23-mj-00185

                Plaintiff,
                                                      UNOPPOSED MOTION TO
        vs.                                           CONTINUE GRAND JURY REPORT
                                                      AND ARRAIGNMENT DATE
JOSEPH DAVID EMERSON,

                 Defendant.


        Comes now Defendant Joseph David Emerson, by and through his attorneys, Noah Horst,

Ethan Levi, and Norah Van Dusen, and moves this Court for an Order to Continue the Grand

Jury report due date and arraignment date beyond 30 days. The current report due date is October

11, 2024, and the parties would like to continue the due date and arraignment to December 13,

2024.




 UNOPPOSED MOTION TO CONTINUE GRAND JURY REPORT                    LEVI MERRITHEW HORST PC
 AND ARRAIGNMENT DATE - 1                                          610 SW ALDER ST. SUITE 415
 (Case No. 3:23-mj-00185)                                              PORTLAND, OR 97205
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       I have discussed with Mr. Emerson his right to be indicted within 30 days of his arrest

under 18 U.S.C. § 3161(b). Mr. Emerson understands his rights and knowingly waives his right

to be arraigned within 30 days.

       Mr. Emerson is presently out-of-custody.

       The Assistant United States Attorney assigned to this matter, Parakram Singh, does not

oppose this motion to continue.

       DATED this 1st day of October, 2024.

                                           By:    s/ Noah Horst
                                           Noah Horst, OSB No. 076089
                                           Of Attorneys for Defendant




 UNOPPOSED MOTION TO CONTINUE GRAND JURY REPORT                  LEVI MERRITHEW HORST PC
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